    Case: 1:18-cv-01705 Document #: 30 Filed: 08/21/18 Page 1 of 3 PageID #:101



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTICT OF ILLINOIS
                                 EASTERN DIVISION

CROWLEY’S YACHT YARD                        )
LAKESIDE, LLC,                              )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )       Case No.:      18-cv-01705
                                            )
S/Y ABRACADABRA, Official No.               )       Judge: Hon. Ruben Castillo
1123698, her engines, tackle,               )
apparel, furniture, equipment and all       )
other necessaries appertaining and          )       In Admiralty
belonging in rem, and AC CHICAGO,           )
LLC, in personam,                           )
                                            )
              Defendants.                   )

               CROWLEY’S YACHT YARD LAKESIDE, LLC’S
      MOTION FOR DEFICIENCY JUDGMENT AND TERMINATION OF CASE

       Plaintiff, Crowley’s Yacht Yard Lakeside, LLC (“Crowley’s"), by its undersigned

attorneys, and for its Motion for Deficiency Judgment and Termination of Case, states as

follows:

       1.     On June 20, 2018, the Court entered an Order for Default Judgment and Sale of

the Vessel (the “Judgment Order”) as against the vessel, the S/Y ABRACADABRA (the

“Vessel”), in rem and against AC Chicago, LLC, in personam, in the sum of $75,955.49, plus

9% interest on this Judgment from the date of entry of the Judgment until the Vessel is

sold [Docket No. 21, Exhibit A, hereto].

       2.     On June 27, 2018, the Court entered an Order Directing the Sale of the S/Y

ABRACADABRA [Docket No. 22, Exhibit B, hereto].

       3.     The Vessel was sold on July 20, 2018, by the United States Marshal, to

Plaintiff, Crowley’s, for the sum of $7,500.00. [See United States Marshals Return of
                                                1
    Case: 1:18-cv-01705 Document #: 30 Filed: 08/21/18 Page 2 of 3 PageID #:102



Process, Docket No. 25, Exhibit C, hereto].

       4.       On July 31, 2018, this Court entered an Order Confirming Sale of Vessel

and Conveying the Vessel to Buyer [Docket No. 29, Exhibit D, hereto].

       5.       The Judgment Order provides that:

                in the event the net proceeds from the sale of the Vessel are insufficient to satisfy
                the Judgment in full, including payment of costs of sale, additional custodial costs
                and expenses, and other costs and expenses to which Plaintiff, Crowley’s Yacht
                Yard Lakeside, LLC, is entitled, Plaintiff shall be entitled to a deficiency
                judgment as against Defendant AC Chicago, LLC, in personam.

[Docket No. 21, Exhibit A; See also Docket No. 29, Exhibit D].

       6.       The net proceeds from the sale of the Vessel are insufficient to satisfy the

Judgment in full. Accordingly, Crowley’s is entitled to a deficiency judgment in its favor and

against AC Chicago, LLC, in personam.

       7.       Crowley’s is entitled to a Deficiency Judgment in the sum of $72,216.06. See

Final Accounting and Affidavit of Grant Crowley, attached hereto as Exhibits E and F,

respectively.

       8.       The Deficiency Judgment shall supersede the Judgment Order [Docket No. 21]

only as to the amount due and owing to Crowley’s by Defendant AC Chicago, LLC.

       9.       The Substitute Custodian, Crowley’s Yacht Yard, LLC, has not been paid for its

services rendered as Substitute Custodian in this matter, and the amount due and owing for said

services shall be made a part of the Deficiency Judgment.

       10.      All matters of this action having been resolved, Crowley’s requests that the

deficiency judgment be entered in favor of Crowley’s Yacht Yard, LLC and against Defendant

AC Chicago, LLC; that Crowley’s Yacht Yard Lakeside, LLC be terminated as substitute

custodian in this matter; and, that this matter be terminated.


                                                  2
    Case: 1:18-cv-01705 Document #: 30 Filed: 08/21/18 Page 3 of 3 PageID #:103



       WHEREFORE, Plaintiff, Crowley’s Yacht Yard Lakeside, LLC, respectfully requests

the following relief:

       A.      The entry of a Deficiency Judgment in its favor and against Defendant, AC

Chicago, LLC, in the sum of $72,216.06, plus post judgment interest at the rate of 9% per

annum on said Deficiency Judgment until the Deficiency Judgment is paid in full;

       B.      The termination of the substitute custodianship;

       C.      The dismissal of this action; and

       D.      Such other and further relief as may be deemed just by this Court.

                                                       Respectfully Submitted,


                                     CROWLEY’S YACHT YARD LAKESIDE, LLC


                                             By:___/s/ Shari L. Friedman____________



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